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                           UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

MARK FULTZ, Individually,           )                CA No.: 2:20-CV-02987-DCN
                                    )
                     Plaintiff,     )
                                    )
              -versus-              )                STIPULATION OF DISMISSAL
                                    )                WITH PREJUDICE
HOSPITALITY SOUTH, LLC              )
a South Carolina Limited Liability  )
Company,                            )
                     Defendant.     )
____________________________________)

       COMES NOW, the Plaintiff, with the consent of the Defendant, and stipulates that all

claims that were that could have been asserted between the parties arising out of matters in the

Complaint are ended and dismissed pursuant to Rule 41(a) of the Federal Rules of Civil Procedure.

The dismissal is with prejudice and each party shall bear their own attorney fees and costs.

       Dated this 22nd day of November 2021

  /s/Vanessa A. Richardson                             /s/Allan R. Holmes
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